Case 2:17-cv-03221-RGK-MRW Document 438 Filed 06/26/18 Page 1 of 5 Page ID #:29296


                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
  Case No.          2:17-cv-03221-RGK-MRW                                         Date   June 26, 2018
  Title             Zeiss v. Nikon



  Present: The Honorable          R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE
            Sharon L. Williams                               Not Reported                          N/A
                  Deputy Clerk                        Court Reporter / Recorder                 Tape No.
                 Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                           Not Present                                            Not Present
  Proceedings:                 (IN CHAMBERS) Order Re: Plaintiffs’ Motion for Partial
                               Reconsideration (DE 297); Plaintiffs’ Motion to Sever the ‘017 and ‘312
                               Patents and Consolidate Them Into Case No. 2:17-cv-07083-RGK (DE
                               345)

 I.       INTRODUCTION

         In this patent infringement case, plaintiffs Carl Zeiss A.G. and ASML Netherlands, B.V.
 (collectively, “Plaintiffs”) allege that defendants Nikon Corp. and Nikon, Inc. (collectively,
 “Defendants”) have made and sold digital cameras that infringe upon four of Plaintiffs’ patents: (1)
 Patent No. 6,972,792 (the “’792 Patent”); (2) Patent No. 7,209,167 (the “’167 Patent”); (3) Patent No.
 8,149,312 (the “’312 Patent”); and (4) Patent No. 8,625,017 (the “’017 Patent”).

         On May 17, 2018, the Court issued a ruling on each party’s respective motion for summary
 judgment. Among other conclusions, the Court found that the ‘312 Patent and the ‘017 Patent were not
 infringed as a matter of law. Plaintiffs now request that the Court reconsider its claim construction of the
 term “unit pixel” within the ’312 and ‘017 Patents and its finding of non-infringement based upon that
 construction.

     For the following reasons, the Court GRANTS Plaintiffs’ Motion (DE 297). The Court also
 GRANTS Plaintiffs’ co-pending motion to sever the ‘017 and ‘312 Patents from this case (DE 345).
 II.      JUDICIAL STANDARD

         A motion for reconsideration filed within twenty-eight days of entry of judgment is considered
 under Federal Rule of Civil Procedure 59; a later-filed motion is considered under Rule 60(b). Fed. R.
 Civ. P. 59(e); see also United States v. Comprehensive Drug Testing, Inc., 513 F.3d 1085, 1098 (9th Cir.
 2008).

        Under Rule 59(e), it is appropriate to alter or amend a judgment if “(1) the district court is
 presented with newly discovered evidence, (2) the district court committed clear error or made an initial

 CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 5
Case 2:17-cv-03221-RGK-MRW Document 438 Filed 06/26/18 Page 2 of 5 Page ID #:29297


                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES - GENERAL
     Case No.     2:17-cv-03221-RGK-MRW                                                    Date     June 26, 2018
     Title        Zeiss v. Nikon

 decision that was manifestly unjust, or (3) there is an intervening change in controlling law.”
 Zimmerman v. City of Oakland, 255 F.3d 734, 740 (9th Cir. 2001). “Whether or not to grant
 reconsideration[,]” however, “is committed to the sound discretion of the court.” Navajo Nation v.
 Confederated Tribes & Bands of the Yakama Indian Nation, 331 F.3d 1041, 1046 (9th Cir. 2003) (citing
 Kona Enters., Inc. v. Estate of Bishop, 229 F.3d 877, 883 (9th Cir. 2000)). Rule 59(e) motion may not be
 used to relitigate old matters, or to raise arguments or present evidence that could have been raised prior
 to the entry of judgment. Kona Enters., Inc., 229 F.3d at 890.

        Additionally Local Rule 7-18 states that a motion for reconsideration may be made only on the
 following grounds:

                   (a) a material difference in fact or law from that presented to the Court
                   before such decision that in the exercise of reasonable diligence could not
                   have been known to the party moving for reconsideration at the time of
                   such decision, or (b) the emergence of new material facts or a change of
                   law occurring after the time of such decision, or (c) a manifest showing of
                   a failure to consider material facts presented to the Court before such
                   decision. No motion for reconsideration shall in any manner repeat any
                   oral or written argument made in support of or in opposition to the original
                   motion. (C.D. Cal. L.R. 7–18.)

 III.        DISCUSSION

             A.    Claim Construction

         Upon review of its prior decision, the Court concludes that it clearly erred in construing the term
 “unit pixel” in the ‘312 and ‘017 Patents to include only a single photodiode.

         In Baldwin Graphics, the Federal Circuit explained that “an indefinite article ‘a’ or ‘an’ in patent
 parlance carries the meaning of ‘one or more’ in open-ended claims containing the transitional phrase
 ‘comprising.’” Baldwin Graphic Sys., Inc. v. Siebert, Inc., 512 F.3d 1338, 1342 (Fed. Cir. 2008)
 (citation omitted). The court also explained that “[t]he exceptions to this rule are extremely limited: a
 patentee must ‘evince[ ] a clear intent’ to limit ‘a’ or ‘an’ to ‘one.’”1 Id. In other words, “[a]n exception
 to the general rule arises only “where the language of the claims themselves, the specification, or the

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   The Court may have erred in failing to identify the Baldwin “clear intent” language in its previous order. 512 F.3d at 1342.
 The Court notes, however, that other Federal Circuit decisions addressing the issue have not used the “clear intent” language.
 See, e.g., Harari v. Lee, 656 F.3d 1331, 1341 (Fed. Cir. 2011); Motorola Mobility LLC v. Int’l Trade Comm’n, 553 Fed.
 Appx. 971, 975–76 (Fed. Cir. 2014). And in any case, the Federal Circuit has stressed that “whether ‘a’ or ‘an’ is treated as
 singular or plural depends heavily on the context of its use.” TiVo, Inc. v. EchoStar Comms. Corp., 516 F.3d 1290, 1303
 (Fed. Cir. 2008). As such, because the Court still assessed the clear intent of the patentee by examining the context of the
 claims and the specification, any error in this respect was not outcome-determinative.
 CV-90 (06/04)                                    CIVIL MINUTES - GENERAL                                             Page 2 of 5
Case 2:17-cv-03221-RGK-MRW Document 438 Filed 06/26/18 Page 3 of 5 Page ID #:29298


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
  Case No.       2:17-cv-03221-RGK-MRW                                        Date   June 26, 2018
  Title          Zeiss v. Nikon

 prosecution history necessitate a departure from the rule.” 01 Communique Lab., Inc. v. LogMeIn, Inc.,
 687 F.3d 1292, 1297 (Fed. Cir. 2012) (citing Baldwin, 512 F.3d at 1342–43).

        The pertinent claim limitation recites: “each unit pixel comprising: a photodiode configured to
 generate photocharges by absorbing an external light; and a sensing node configured to receive the
 photocharges transferred from the photodiode.” As such, under the general rule, the term “a” photodiode
 would be construed to encompass “one or more” photodiodes.

         But in its prior order, the Court concluded that despite the general rule, the article “a” in the
 claim limitation should be construed as limited to only “one” photodiode. The Court based this
 conclusion on (1) the context of the claim language, which suggested a single-photodiode structure; (2)
 the statements of Defendants’ expert that a “pixel” generally corresponds to a single photodiode; and (3)
 statements in the specification evincing a clear intent to limit “a photodiode” to a single photodiode.
 Although the Court considered all three pieces of evidence, the Court’s conclusion rested heavily upon
 statements in the specification like “each unit pixel . . . of the pixel array is configured with one
 photodiode and four transistors” and “the photodiode constituting each unit pixel . . . .” The Court also
 gave much weight to repeated statements in the specification referring to “the” photodiode, as well as
 two drawings depicting unit pixels with a single photodiode structure.

          Upon review of its prior order and the parties’ arguments here, however, the Court concludes
 that it clearly erred in analyzing the specification of the ‘312 Patent. Specifically, the Court failed to
 identify that many of these statements refer to the prior art, rather than to the invention itself. And
 without these statements, the Court cannot conclude that the patent specification evinces a clear intent to
 limit the claim limitation to a single photodiode.

         To be sure, much in the specification still seems to suggest a pixel configuration in which a unit
 pixel has a single photodiode. The prior art—the conventional CMOS image sensor—seems to have
 “one photodiode and four transistors” in each unit pixel. (’312 Patent, 1:54–55.) The prior art has a
 problem: the sensor’s sensing node does not have enough capacitance “to receive increased
 photocharges,” which “makes it difficult to obtain a desired photo-sensitivity.” (3:5–9.) The invention is
 directed to fixing this problem by adopting the sensing node sharing scheme; that is, by “sharing the
 sensing node of an adjacent non-selected pixel while a selected pixel operates.” (3:14–17.) In other
 words, the difference between the prior art and the invention seems to be the sensing node sharing
 scheme, not the other aspects of the pixel configuration. Indeed, the invention’s description suggests that
 the invention and the prior art have pixel configurations that are otherwise similar: the invention’s pixel
 array is similar to “typical constitutions,” and the invention’s “line scanning fashion” is also similar to
 the prior art. (4:6–12.) Further, Figure 4, depicting a preferred embodiment of the invention, portrays a
 pixel configuration in which a unit pixel has a single photodiode, just like the pixel configuration in the
 prior art. And while other possible embodiments of the invention are suggested in the specification—for
 instance, an embodiment in which lines are scanned column-by-column instead of row-by-row—an

 CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                   Page 3 of 5
Case 2:17-cv-03221-RGK-MRW Document 438 Filed 06/26/18 Page 4 of 5 Page ID #:29299


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
  Case No.       2:17-cv-03221-RGK-MRW                                         Date    June 26, 2018
  Title          Zeiss v. Nikon

 embodiment with multiple photodiodes in a unit pixel is not hinted at or suggested anywhere in the
 specification.

          But the Federal Circuit’s standard is strict: exceptions to the Baldwin “one or more” rule are
 “extremely limited,” and the specification and claim language must “necessitate” departure from the
 rule. Baldwin, 512 F.3d at 1342–43 (emphasis added). The unit pixels in the invention appear to share
 the same photodiode structure as the prior art, but the specification does not expressly adopt the same
 structure or necessarily foreclose other possible structures. Without the statements describing the prior
 art, the Court is left with the preferred embodiment, which depicts a unit pixel with a single photodiode,
 and the claim language itself. While there is “sometimes a fine line between reading a claim in light of
 the specification, and reading a limitation into the claim from the specification,” the Court may not read
 limitations from preferred embodiments into the claims. See Comark Comm’s, Inc. v. Harris Corp., 156
 F.3d 1182, 1186–87 (Fed. Cir. 1998); see also KCJ Corp. v. Kinetic Concepts, Inc., 223 F.3d 1351, 1356
 (Fed. Cir. 2000) (“[S]tanding alone, a disclosure of a preferred or exemplary embodiment encompassing
 a singular element does not disclaim a plural embodiment.”). And although the claim language draws a
 strong contrast between plural and singular claim terms, this does not, without more, compel a departure
 from the general rule. See Convolve, Inc. v. Compaq Computer Corp., 812 F.3d 1313, 1321 (Fed. Cir.
 2016). Consequently, standing alone, the claim language and the preferred embodiment do not
 “necessitate” departing from the general rule that “a” means “one or more”.

         Accordingly, the specification and the claim language are not sufficient to overcome the general
 rule that “a” means “one or more”. The Court therefore revises its previous claim construction and
 construes the terms “unit pixel” and “sensing pixel” within the ‘312 and ‘017 Patents to encompass one
 or more photodiodes.

          B.      Effect on Proceedings

        In its prior order, the Court held that the ‘312 and ‘017 Patents were not infringed as a matter of
 law on the basis of the Court’s construction of the term “unit pixel” to include only a single photodiode.
 As a result of this construction, the Court also declined to address other arguments raised by the parties.

         In light of this Motion for Reconsideration, the Court vacates its prior judgment of non-
 infringement as to the ‘312 and ‘017 Patents. But given that trial in this case is fast approaching, it
 would be impractical to reintroduce the ‘312 and ‘017 Patents into this case.

         The Court therefore grants Plaintiffs’ co-pending motion to sever the ‘312 and ‘017 Patents from
 this case and consolidate them into case number 2:17-cv-07083-RGK-MRW (the “7083 Action”). Under
 Rule 21, the Court may “at any time” “sever any claim against a party.” Fed. R. Civ. P. 21. Additionally,
 under Rule 42, the Court may consolidate “actions involving a common question of law or fact” that are
 pending before the Court. Fed. R. Civ. P. 42. The 7083 Action is substantially related to this action, and

 CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                    Page 4 of 5
Case 2:17-cv-03221-RGK-MRW Document 438 Filed 06/26/18 Page 5 of 5 Page ID #:29300


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
  Case No.       2:17-cv-03221-RGK-MRW                                       Date    June 26, 2018
  Title          Zeiss v. Nikon

 is set for jury trial in November 2018. The Court therefore finds it appropriate to sever the ‘312 and ‘017
 Patents from this action and consolidate them into the 7083 Action. Remaining unresolved claim
 construction issues pertaining to the ‘312 and ‘017 Patents will be addressed in that action.
 IV.      CONCLUSION

        For the foregoing reasons, the Court GRANTS Plaintiffs’ Motion for Partial Reconsideration
 (DE 297), and GRANTS Plaintiffs’ Motion to Sever the ‘312 and ‘017 Patents and Consolidate Them
 Into Case Number 2:17-cv-07083-RGK-MRW (DE 345).

          IT IS SO ORDERED.


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                                                   Initials of Preparer




 CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                   Page 5 of 5
